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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
                             CAMDEN VICINAGE


  JILL SIDER, et al.,

                        Plaintiffs,
                                       Civil No. 17-4780-NLH-KMW
             v.

  TROPICANA ATLANTIC CITY CORP.,
  et al.,

                        Defendants.


                             DISCOVERY ORDER

          This matter having come before the Court upon the
informal letter application dated October 30, 2017 from Sean P.
Hart, Esquire, counsel for defendant, regarding plaintiff’s
request for defendants to preserve certain components of the guest
room, which is the site of the incident at issue in this
litigation; and the Court having read the submission and heard the
arguments of counsel during a telephone discovery conference held
on November 3, 2017; and the Court noting the following
appearances: Jared Rosen, Esquire, and Gary S. Rosen, Esquire,
appearing on behalf of the plaintiffs; and Denis P. McBride,
Esquire, appearing on behalf of the defendants; and for good cause
shown:

           IT IS this 3rd day of November, 2017, hereby ORDERED:

          1.   Defendants shall maintain the shower head, shower
curtain, and samples of the floor tile from the room plaintiff
occupied at the time of the incident.



                                      s/ Karen M. Williams
                                      KAREN M. WILLIAMS
                                      United States Magistrate Judge


cc:   Hon. Noel L. Hillman
      James Quinlan, Arbitration Clerk
